           Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 1 of 26



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

    __________________________________
                                                               )
                                                               )
         Rodney Lail, et al.,                                  )
                                                               )
                  Plaintiffs,                                  )
                                                               )        C.A. No. 10-CV-210-(PLF)
                           v.                                  )        (ECF)
                                                               )
         United States Government, et al.,                     )
                                                               )
                                                               )
                  Defendants.                                  )
                                                               )
                                                               )
                                                               )


         PLAINTIFF’S RESPONSE IN OPPOSITION TO FEDERAL
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS COMPLAINT


         Pro Se Plaintiffs Rodney Lail, Nick Williamson, Virginia Williamson, Irene

Santacroce, Bruce Benson, Dan Green, Ricky Stephens, Marguerite Stephens, and

James Spencer, (Now deceased Doris Holt)1 (“Plaintiffs”) respectfully submit this

Memorandum of Points and Authorities in support of their Opposition to the

Federal Defendants‟ Motion to Dismiss Plaintiffs‟ Complaint (Document No. 84).
1
 Doris Holt died on February 19, 2011, while in the custody of defendants in this matter. Because of the nature of
her death (Starvation and Dehydration), the Coroner is conducting an autopsy and Doris Holt has neither been
buried nor has her estate established as the required local documents cannot be completed for another two weeks.
The Court denied the Plaintiffs‟ motion for an extension time needed to address the issues raised and creating the
estate in Plaintiffs‟ Document No. 88 in the Minute Order issued on 2/24/11. Plaintiffs also humbly request the
Court to take Judicial Notice of Plaintiff‟s Motion No. 69, which if it had been approved, may have saved the life of
Plaintiff Doris Holt.

                                                   Page 1 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 2 of 26



      The Federal Defendants request stated in Document No. 84 that the

Plaintiffs‟ complaint be dismissed under Fed. R. Civ. P, 12(b)(1), 12(b)(2),

12(b)(3), 12(b)(5) and 12(b)(6) is without merit.

                      INTRODUCTION AND SUMMARY

      The Federal Defendants are attempting to confuse this Honorable Court by

using the litigation of Southern Holdings, et al., vs. Horry County to muddy and

confuse the nature of the causes of action brought before this Court. The fact that

the Federal Defendants actively interfered in that case and committed torts related

to the concealment of civil rights violations does not make this case in any way a

retrial of that case. The Federal Defendants in this case are not alleged to have

committed acts that justify the same causes of actions of the Plaintiffs in the

Southern Holdings case (South Carolina Federal District Court 4-02-1859-12), but

are alleged to have committed acts that have deprived the Plaintiffs of their civil

rights including their right to a fair trial in that case. The causes of action and

Defendants in this case are completely different from the causes of actions and the

Defendants in the Southern Holdings case. The Federal Defendants attempt to

mislead this Court into believing that the Plaintiffs are attempting to retry the prior

case. Nothing can be further from the truth. This case concerns the Federal

Defendants depriving the Plaintiffs of their constitutional rights in an effort to

cover up the vulnerability of their vaunted FBI-NCIC system to criminal abuse,


                                     Page 2 of 26
          Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 3 of 26



previously demonstrated by the Plaintiffs. Included in these causes of action is the

undermining of the Southern Holdings case by the Federal Defendants in

conjunction with the other Defendants to deprive the Plaintiffs of their rights

guaranteed by the United States Constitution, including, but not limited to, their

right to a fair trial and the right to equal protection under the law on the local, state

and federal levels.

      The Federal Defendants have incorporated a multitude of citations in their

Memorandum that would be applicable if this case actually were an attempt at

retrial. However, in this case these citations are nothing but a furtherance of

attempts by the Federal Defendants to create an illusion that diverts the attention

away from what this case is about: which is the Federal Defendants abuse of power

and authority to deprive the Plaintiffs of their civil rights including, but not limited

to, the Plaintiffs right to due process. This was apparently done to keep the

vulnerability of the FBI-NCIC system to criminal abuse from public scrutiny in

continuance of the Justice Departments well-documented policy against the

imposition of oversight controls to prevent misuse of the FBI-NCIC system at

various levels of law enforcement.2


      2
        United States General Accounting Office Testimony before the United
States House Judiciary Subcommittee on Civil and Constitutional Rights on the
“National Crime Information Center”, “Legislation Needed to Deter Misuse of
Criminal Justice Information, July 28, 1993. GAO/T-GGD-93-41

                                      Page 3 of 26
         Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 4 of 26



        These latter issues were not in any way dealt with or identified in the prior

Court case and the litigation of these issues does not make this case a retrial of that

case.

        The United States Court of Appeals upheld the District Court‟s decision in

Peter J. Limone, et al., v. United States of America, where the Court found that,

               “Some three decades later, the FBI for the first time disclosed that
        all along it had possessed reliable intelligence undercutting the witness's
        account of the murder and that it had suppressed this intelligence. The
        FBI neither pr[offered] charges against the prisoners nor swore out a
        complaint against them. There was not a shred of evidence that the FBI
        induced the state to pursue the murder case. Though FBI agents assisted
        the cooperating witness in shoring up his false tale when inconsistencies
        came to light, that subsequent assistance did not support a conclusion
        that the FBI encouraged state actors to institute the prosecution.”

        Limone v. United States, 579 F.3d 79 (1st Cir. Mass. 2009)

        In the Southern Holdings case, the Federal Defendants actively participated

in covering up civil rights violations in attempting to keep hidden the misuse of the

FBI-NCIC information system by a now convicted felon. However, the Federal

Defendants in the case before this Honorable Court went a step further than

suppressing evidence as the United States Defendants did in the Limone case. In

this case the Federal Defendants not only suppressed evidence but actively

participated in the fabrication of evidence. The Federal Defendants violated the

Plaintiffs civil rights including, but not limited to, not following non-discretionary

procedures detailed in the FBI Manual of Operating Procedures, which is clearly a


                                      Page 4 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 5 of 26



violation of the Plaintiffs rights to equal protection under the law and due process

rights guaranteed by the United States Constitution. Thus, for causes of action

including. but not limited to, denying the Plaintiffs due process rights and equal

protection under the law the Federal Defendants are now for the first time being

brought to trial just as the causes of action against the United States were brought

in Limone v. United States, thirty years later.

      The Plaintiffs hereby desire this Honorable Court to take Judicial Notice of

the crucially important fact that the FBIHQ in Washington, DC had concealed FBI

procedural manuals including the FBI Manual of Investigative and Operational

Guidelines (“MIOG”), FBI Laboratory Procedure Manuals, and the FBI Manual of

Rules and Regulations by wrongfully invoking national security and thereby

suppressing through acts of fraud the crucially important manuals rightfully due to

and legally requested by the Plaintiffs (how the FBI works should be open to all

United States citizens who pay for its operation).

      In January of 2009, the Plaintiffs for the first time obtained a copy of MIOG

and the other sought after manuals that were fraudulently claimed to be classified

for National Security by the FBIHQ located in Washington DC. It was at that time

the Plaintiffs discovered the numerous violations by the Federal Defendants of

their Constitutionally guaranteed civil rights including, but not limited to, their

right to equal protection under the law and their right to due process. Therefore, it


                                     Page 5 of 26
           Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 6 of 26



is clear that the case before this Honorable Court is in no way a retrial of another

case.

                                              BACKGROUND

         a. Plaintiffs’ Prior Litigation

         The Federal Defendants wrongly cite the Plaintiffs prior litigation as the

gravamen of this case. There are several factually incorrect statements concerning

the prior litigation in the Federal Defendants Motion to Dismiss, but to argue those

points would divert the attention away from the true core of this case.3 The heart

of this case includes, but is not limited to, the following: 1) the Federal Defendants

participation in a cover-up, 2) the Federal Defendants suppression of evidence, 3)

the Federal Defendants fabrication of evidence, 4) the Federal Defendants

wrongful interference in a civil case in which the United States was not a party,

wrongfully causing an outcome unfavorable to the Plaintiffs, 5) the Federal

Defendants involvement in subornation of perjury, 6) the Federal Defendants

violations of the civil rights of the Plaintiffs, 7) the Federal Defendants, despite the

Federal Government not being a party to the case, willfully breaking the FBI‟s own

3
  As an example, the Federal Defendants wrongly claimed all the Plaintiffs were present when the purported
agreement was reached and read into the record. Plaintiff Doris Holt was not present nor did she give authority to
settle the case. The Plaintiffs that were present in that action never executed a settlement agreement as they were
informed no agreement was final until it was executed in writing and never received any funds in settlement of the
case as the facts concerning the circumstances of that case are still in dispute and being litigated at this time.
Additionally, the Federal Defendants cited from a newspaper article the case cost Horry County $400,000 in funds
to litigate which is a total embellishment as Horry County‟s insurance carrier bore the cost of litigation along with
the United States Government. The United States Government participated on the Defendants behalf by wrongly
providing personnel and funds on behalf of the civilian and local law enforcement defendants against the FBI
prohibition to participate in civil cases in which the United States is not a party to the action in addition to
committing tortious actions and fraud against the Plaintiffs.

                                                    Page 6 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 7 of 26



rules that preclude involvement in a civil case the Federal Government is not a

party to and in so doing becoming active participants approved by FBIHQ in

Washington DC and paid for by the United States Government, and 8) the Federal

Defendants commission of fraud by invoking national security to conceal tortious

activity by the Federal Defendants.

      b. Plaintiffs’ Complaint

      The Plaintiffs have adjusted their complaint to improve the consistency with

the facts and pleadings in their proposed “Third Amended Complaint.” The

Plaintiffs have deleted the Racketeer Influenced and Corruption Organizations Act

(“RICO”), 18 U.S.C. § 1961 cause of action against the Defendants and adjusted

the complaint to reflect the death of Plaintiff Doris Holt.

                            STANDARD OF REVIEW

      a. Fed. R. Civ. P. 12(b)(1)

      Plaintiffs accept the citations used by the Federal Defendants and based on

the over abundance of facts in the Third Amended Complaint believe the citations

more than meet the criteria set under Fed. R. Civ. P. 12(b)(1).


      b. Fed. R. Civ. P. 12(b)(6)

      Plaintiffs accept the citations used by the Federal Defendants and based on

the over abundance of facts in the Third Amended Complaint believe that the facts

alleged by Plaintiffs more than meet the criteria set under Fed. R. Civ. P. 12(b)(1).
                                      Page 7 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 8 of 26



                                  ARGUMENT

             a. Sovereign Immunity Does Not Bar Plaintiff’s Claims for
                Money Damages

      The Pro Se Plaintiffs have attached their proposed Third Amended

complaint to incorporate the proper wording as suggested in the Federal

Defendants‟ Memorandum. The Pro Se Plaintiffs simply seek to prove their case

through discovery and trial.

      Further, the Federal Defendants wrongly maintained that the Federal

Defendants were not served in their individual capacities and therefore the

Plaintiffs are barred from any action against the Federal Defendants in their

individual capacities. This is simply wrong.

      The Federal Defendants were in fact constructively served in their individual

capacities or served in their individual capacities. Federal Defendant Thomas

Marsh was individually served at his office by a process server (See Document No.

13, pg. 4). The remaining Federal Defendants were constructively individually

served as the documents for individual service were sent to the office of the United

States Attorney of the District of Columbia and received respectfully by W. Haight

and Ronald Machen, Document No. 13 and Document No. 25. Requests were sent

with the documents to the United States Attorney asking the United States

Attorney either to receive service for the individual Federal Defendants or provide

the individual Federal Defendants addresses by return mail so Plaintiffs could
                                    Page 8 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 9 of 26



perfect service individually. (See Document No. 13 pgs 24 – 27 and Document

No. 25 – pgs 2 -3.) The United States Attorney‟s office sent no timely objection to

accepting individual service nor provided a listing of addresses of the Federal

Defendants to the Plaintiffs so the Plaintiffs could perfect service.

      Plaintiffs were not informed of the United States Attorneys unwillingness to

cooperate until Document No. 84 the Federal Defendants Motion for Dismissal

was received. Additionally, the Federal Defendants asked for and received an

extension of time from this Honorable Court for the individual Federal Defendants

to find individual counsel.      Therefore, in the spirit of cooperation between

opposing parties and the lack communication to the contrary the Plaintiffs had

every reason to believe the Federal Defendants had been individually served.


             b. The United States is a Proper FTCA Defendant

      The Pro Se Plaintiffs have amended their proposed Third Amended

complaint to incorporate the proper wording. The Pro Se Plaintiffs simply seek to

prove their case through discovery. Accordingly, the dismissal requested for the

wording in error by the Pro Se Plaintiffs is now revised so that the Plaintiffs‟

FTCA claims are stated properly and do not list the Federal Agencies and

Employees as Defendants. Therefore, the motion to dismiss by the Federal

Defendants under subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1)

should be denied.
                                      Page 9 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 10 of 26




             c. Plaintiffs’ Claims are Not Barred by Res Judicata and
                Collateral Estoppel

      The Federal Defendants state in their Memorandum that the Southern

Holdings case and the action before this Honorable Court have the same “nucleus

of facts” and therefore should be barred by res judicata and collateral estoppel.

This is totally inaccurate.

      Whether the claim that was not raised in the previous action could have been

raised therein depends in part on whether the same transaction or a connected

series of transactions is at issue, and whether the same evidence is needed to

support both claims. Pike v. Freeman, 266 F.3d 78,91(2d cir. 2001). Courts

examine four factors to determine whether there is an identity of claims: (1)

whether the two suits arise out of the same transactional nucleus of facts; (2)

whether rights or interests established in the prior judgment would be destroyed or

impaired by the prosecution of the second action; (3) whether the two suits involve

infringement of the same right; and (4) whether substantially the same evidence is

presented in the two actions. Whether two suits arise out of the same transactional

nucleus depends upon whether they are related to the same set of facts and whether

they could conveniently be tried together. ProShiplLne Inc. v. Aspn infrastructures,

Ltd., 609 F.3d 960. 968 (9th Cir. 2010).




                                    Page 10 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 11 of 26



      The Southern Holdings case was about the violation of civil rights of the

Plaintiffs by Defendants including a now convicted felon and local police officers

from two states along with civilian accomplices. The “nucleus of facts” centered

on the theft of the assets of a corporation involved in international and interstate

commerce by Defendant civilians and Defendant local police officers. The

Defendants in the Southern Holdings case are not Defendants in the case before

this Honorable Court. Claiming the misuse of the FBI-NCIC system as a common

“nucleus of facts” to impose res judicata would be the equivalent of saying the

suppression of evidence by the United States government in Limone v. United

States, 579 F.3d 79 (1st Cir. Mass. 2009) was barred by res judicata because both

Limone cases related to the same murder victim.

      Similarly, “collateral estoppel „represents a decision that the needs of

judicial finality and efficiency outweigh the possible gains of fairness or accuracy

from continued litigation that previously has been considered by a competent

tribunal.‟‟‟ Bailey v. DiMario, 925 F. Supp. 801, 810 (D. D.C. 1995) (quoting

Nasem b. Brown, 595 F.2d 801, 806 (D.C. Cir. 1979)).            Collateral Estoppel

“relieves the parties of the expense, vexation, and burdens attending multiple

lawsuits; conserves judicial resources; minimizes the risk of forum shopping,

piecemeal litigation, and inconsistent decisions; and provides finality in the

resolution of disputes. Id. (citations omitted). If an issue is raised, collateral


                                    Page 11 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 12 of 26



estoppel precludes a party from raising “the entire issue” again, not simply “the

argument raised in support of it in the earlier proceedings.” Id.

      In January 2009, after the Plaintiffs discovery of the FBI‟s MIOG, and the

FBI laboratory procedure manuals which had been fraudulently concealed by the

Federal Defendants from the FBIHQ in Washington, DC who fraudulently claimed

such manuals were protected by national security, it became apparent to Plaintiffs

in this case that the Federal Defendants actions or lack of actions thereof were in

violation of non-discretionary required FBI procedures.

      The failure to provide equal protection under the law and due process by the

Federal Defendants are clearly distinct from the facts in the Southern Holdings

case. It was the Federal Defendants who wrongfully suppressed evidence and

fabricated evidence and committed fraud to conceal such actions so that these torts

were not known or could have been known to Plaintiffs until their discovery of the

manuals in January of 2009.

      The Plaintiffs in this case had no way of knowing that the decisions by the

Federal Defendants were in violation of their civil rights and in violation of

mandatory FBI policy and procedures. The fact that the FBI-NCIC reports had

been fabricated by the Federal Defendants had not been known by the Plaintiffs in

the Southern Holdings, case. The fabricated FBI-NCIC reports were “certified

reports” received by the Plaintiffs through the Washington DC Office of a sitting


                                     Page 12 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 13 of 26



member of the Senate Judiciary Committee, Senator Lindsey Graham. The Federal

Defendants in their motion to dismiss characterize the Plaintiffs‟ allegations in

their complaint as “fanciful and bizarre” (line 7, ¶ 27). First, the Plaintiffs agree

the use of the Chairman of the Senate Judiciary Subcommittee on the United States

Constitution, Civil Rights and Property Rights, Senator Lindsey Graham, as an

unwitting accomplice in providing fabricated, “certified” FBI-NCIC reports for

use in Federal District Court to undermine a civil rights case, could be viewed as

“fanciful” by the Federal Government perpetrators. However, the Plaintiffs much

prefer the more appropriate characterization of such an act as “arrogant”,

“unlawful”, “deceitful”, and as such demonstrates the Federal Defendants‟ outward

contempt for: the authority and integrity of the United States Senate, the role of

United States Senate Judiciary Subcommittee on Civil Rights, and the critical

importance of maintaining the integrity of the United States Judicial system.

      The Plaintiffs find the use of the word “bizarre” based on the history of the

FBI and the circumstances of this case as inappropriate. In this case, to preserve

the image of the FBI-NCIC system, a few telephone calls were made, favors done

interagency, and the FBI subsequently preserved a part of its image which is

publicly known to be a major driving force behind many of the FBI‟s actions

and/or inactions.




                                    Page 13 of 26
         Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 14 of 26



         In the facts alleged before this Honorable Court the Federal Defendants not

only suppressed evidence, but fabricated evidence. Additionally, the FBI provided

an expert witness (Federal Defendant Noel Herold) for local law enforcement and

civilian defendants with authorization from the FBIHQ in Washington DC, where

Federal Defendant Herold presented perjured testimony, fabricated documents and

fabricated examination results. Further this witness was found long after the

Southern Holdings trial concluded to have a fabricated background and numerous

resumes tailored for any particular case he might be testifying in for the FBI.

Further this individual was supplied with Department of Justice Attorneys to

represent Noel Herold in the Southern Holdings Case and these attorneys

fraudulently claimed national security interests to conceal documents that would

have exposed the Federal Defendants role in undermining the Southern Holdings

trial.


               d. Plaintiffs’ Claims are Not Time Barred by Statute of
                  Limitations

                  1. FTCA Claims and Bivens Claims

         The Federal Defendants‟ contentions that the Plaintiffs‟ claims are time

barred is not supported by the law or facts. A tort claim generally accrues at the

time of the Plaintiffs injury. United States v. Kubrick, 444 U.S. 111, 120 (1979).

At a minimum, the claim accrues “by the time a plaintiff has discovered both his


                                      Page 14 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 15 of 26



injury and its cause.” Sexton v. United States, 832 F. 2d 29, 633(D.C.Cir. 1987).

Plaintiffs FTCA claims are not time barred in this case as the Plaintiffs had no

knowledge of what was required by the FBI manuals or of the Federal Defendants

in civil rights cases that were non-discretionary, or of the requirements of the FBI

laboratory procedures until January 2009.

      In addition, it was the Federal Defendants themselves who hid this

knowledge and information from the Plaintiffs through the fraudulent invocation of

National Security interests to keep the documents out of the Plaintiffs possession.

The Supreme Court has long held that in cases of fraud:

   “…the Court described two situations in which the "strict letter of general statutes of
   limitation" would not be followed, id., at 347. The first situation is "where the ignorance
   of the fraud has been produced by affirmative acts of the guilty party in concealing the
   facts," and the second is "where the party injured by the fraud remains in ignorance of it
   without any fault or want of diligence or care on his part." [***290] Id., at 347-348.
   The former involves fraudulent concealment; the latter defines undiscovered fraud. The
   Court concluded in Bailey that fraudulent concealment, which was at issue in that case,
   tolls the running of the statute of limitations when the fraud "has been concealed, or is
   of such character as to conceal itself." Id., at 349-350. To hold otherwise, reasoned the
   Court, would "make the law which was designed to prevent fraud the means by which it
   is made successful and secure." Id., at 349. In Holmberg v. Armbrecht, 327 U.S. 392,
   397, 90 L. Ed. 743, 66 S. Ct. 582 (1946), the Court extended the reach of this tolling
   doctrine when [*648] it observed that it is to be "read into every federal statute of
   limitation."

   Taylor v. Freeland & Kronz, 503 U.S. 638, 647-648 (U.S. 1992)

      Additionally, the Federal Defendants disregarded the latest claim of failure

of the Federal Defendants to follow the Federal Requirements of MIOG is from

January 2010, when Doris Holt was wrongfully taken by Defendants in including,



                                         Page 15 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 16 of 26



but not limited to, violation of her civil rights, she finally died prematurely and in

unjustified captivity by the Defendants on February 19, 2011.


             e. This Court Has Personal Jurisdiction over named Federal
                Defendants

      The vortex of the tort claims in this case is Washington, DC. FBIHQ in

Washington, DC is in charge of all civil rights investigations and directly

supervises such. FBIHQ wrongfully authorized the use of Defendant Noel Herold

in a civil case (Southern Holdings, et al. vs. Horry County, et al.) in which the

United States was not a party as an expert witness for civilian and non-civilian

local law enforcement Defendants.       It was the FBI in Washington DC who

coordinated the fabricated “certified” NCIC reports through United States Senator

Lindsey Graham‟s Office. The FBI in Washington DC is the central repository for

all FBI files on this matter. It is not a coincidence that FBI personnel located in

offices in West Virginia, Virginia, North Carolina and South Carolina all violated

their mandatory MIOG requirements, and the FBIHQ in DC which is in charge and

supervises and manages all civil rights cases and FBI personnel involved allowed

this to happen under their management responsibility which was the direct and

proximate cause for the injuries to the Plaintiffs. It is also in the interest of the

conservation of judicial assets that this case be heard by this Honorable Court.




                                    Page 16 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 17 of 26



             f. Plaintiff’s FTCA and Bivens Claims Should Not Be Dismissed

                for Improper Venue

                1. FTCA Claims

      An FTCA action against the United States “may be prosecuted only in the

judicial district where the Plaintiff resides or wherein the act or omission

complained of occurred.” 28 U.S.C. § 1402 (b). “Under the prevailing

interpretation of second 1402(b), venue is proper in the District of Columbia if

sufficient activities giving rise to Plaintiffs cause of action took place here.” Franz

v. United States, 591F. Supp. 374, 378 (D. D. C. 1984).

      In the case before this Court the main decision makers were in Washington,

DC.   The personnel decisions are all decided in Washington, DC.             The key

decisions in this case regarding omissions and management of personnel were

made in Washington, DC. Since all the Federal Defendants report to Washington,

DC and all decisions are made in Washington, DC, and all management of the

Federal Defendants actions are out of the Washington, DC. The Washington, DC

based inspection division either through omission or intentional action failed to

ensure the management of the Federal Defendants and in the case of Federal

Defendant Noel Herold actions were directed out of Washington, DC as are all the

Federal Defendants. Therefore, the District of Columbia is the proper venue not




                                     Page 17 of 26
          Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 18 of 26



simply because the FBIHQ is located there but the actions of the Federal

Defendants were directed from Washington, DC.

                       2. Bivens Claims

         The Plaintiffs complaint clearly has claims against the Federal Defendants in

their individual capacity and the Federal Defendants claim that they should be

dismissed under Fed. R. Civ. P. 12(b)(3) is without merit. Under § 1391(b), such a

cause of action may be brought only in a judicial district where: (1) any defendant

resides if all defendants reside in the same state; (2) a substantial part of the events

or omissions giving rise to the claim occurred; or (3) any defendant may be found

if there is no district in which the action may otherwise be brought.

         In this case the venue is proper because the majority of the alleged events

and/or omissions took place and/or were directed from and/or were the

responsibility of the FBIHQ management located in Washington, DC. Therefore,

the venue is proper because the vortex of the Plaintiffs claims centered on the

FBIHQ. Additionally, geographically the District of Columbia is centrally located

amongst the various states several of the Federal Defendants reside in addition to

all the records relevant to this case being located in the FBIHQ in the District of

Columbia.4



4
  If the Court decides irrespective of the Plaintiffs‟ position that the venue is not proper, the Plaintiffs respectfully
request under 28 U.S.C. § 1406(a) the Court transfer the case to a district where the Court believes the venue is
proper.

                                                     Page 18 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 19 of 26



             g. Plaintiffs’ Claims Should not be Dismissed for Failure to State

                a Claim

                1. Federal Defendants in this case are not entitled to absolute or

                   qualified immunity

                A. Federal Defendants Perry and Benson are protected by absolute

                   immunity

      The Federal Defendants wrongly assert that the only claim against

Defendants Perry and Benson are the submission of a fabricated CV. Perry and

Benson went way beyond the submission of fabricated evidence, Perry and Benson

knowingly fraudulently invoked national security to keep MIOG and other

manuals out of the Plaintiffs possession to protect discovery of tortious actions by

the Federal Defendants. This goes beyond the simple presentation of evidence and

both Perry and Benson knew or should have known the manuals sought by the

Defendants were in fact not protected by National Security interests and that their

wrongful actions were part of a fraudulent action that was never intended to be

protected by absolute immunity. Therefore, Plaintiffs request the Court to disallow

their absolute immunity for actions involving fraud.

                B. All Federal Defendants are not entitled to Qualified Immunity

      Once the individual defendant raises qualified immunity courts were

familiarly required to resolve two issues: (1) whether a constitutional right would


                                    Page 19 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 20 of 26



have been violated on the facts alleged; and if the violation is established, then (2)

whether the right alleged to have been violated was clearly established such that a

reasonable person would have known. Saucier v. Katz, 533 U.S. 194, 1969 (2001).

The Federal Defendants wrongly claim in their motion to dismiss that the decision

to investigate is a civil rights claim is a discretionary decision. The FBI MIOG

clearly states that it is non-discretionary. In this regard both prongs under Saucier

would have been met. In regard to qualified immunity and non-discretionary

decisions, the United States Supreme Court has ruled:

    We recognize that the plurality opinion in Barr v. Matteo, supra, contained language
    that has led some courts to believe that conduct within the outer perimeter of an
    official's duties is automatically immune from suit. See, e. g., Poolman v. Nelson, 802
    F. 2d, at 307-308. A close reading of Barr, however, shows that the discretionary nature
    of the act challenged in that case was central to Justice Harlan's opinion. Justice Harlan
    specifically noted that the conduct in question "was an appropriate exercise of discretion
    which an officer of that rank must possess if the public service is to function
    effectively" and that immunity applies "to discretionary acts at those levels of
    government where the concept of duty encompasses the sound exercise of discretionary
    authority." 360 U.S., at 575 (footnote omitted). Moreover, Barr did not purport to depart
    from the widely followed common-law rule that only discretionary functions are
    immune from liability, see W. Keeton, D. Dobbs, R. Keeton, & D. Owen, Prosser and
    Keeton        on      Law       of     Torts     1059-1060        (5th     ed.      1984).

    Westfall v. Erwin, 484 U.S. 292, 298 (U.S. 1988)



Further, the Federal Defendants in their motion to dismiss wrongly claim the

Plaintiffs invoked the 8th amendment and the 14th amendment against the Federal

Defendants. Clearly this is not the case. The Federal Defendants also wrongly

claim the Plaintiffs failed to allege any facts related to the Federal Defendants

violating a statutory or constitutional right when in fact the Third Amended

                                         Page 20 of 26
        Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 21 of 26



Complaint is filled with such facts. Plaintiffs also disagree with the Federal

Defendants statement in their motion to dismiss that the Plaintiffs have failed to

state a proper Bivens claim ¶¶ 254- 262.

                 2. Plaintiffs have withdrawn their RICO Cause of Action

                 3. Plaintiffs have Stated a Claim under 42 U.S.C. § 1985

       The Federal Defendants in closing wrongly claim the Plaintiffs failed to state

a claim under 42 U.S.C. § 1985 and that the Plaintiffs failed to meet the criteria for

a proper claim under the South Carolina Civil Conspiracy law. Plaintiffs maintain

they have in fact met all criteria in their Third Amended Complaint to make a

proper claim under the South Carolina Civil Conspiracy law.             Additionally,

Plaintiffs.   Finally, the Federal Plaintiffs wrongly claim the Plaintiffs alleged

conspiracy is comprised of disjointed facts. The facts are anything but disjointed.

                                  CONCLUSION

       For the foregoing reasons, the Pro Se Plaintiffs respectfully request this

Honorable Court that the Federal Defendants‟ Motion to Dismiss be denied and the

Plaintiffs be allowed to conduct discovery and prove the patterns and facts

contained in the complaint are true in the interest of justice. The Pro Se Plaintiffs

are law abiding individuals who are merely seeking justice through the Courts and

in this case the right to conduct discovery to prove their well founded allegations.




                                     Page 21 of 26
Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 22 of 26
Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 23 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 24 of 26



                         CERTIFICATE OF SERVICE

   I hereby certify that on the 21st day of March, 2011, I electronically filed the
foregoing PLAINTIFF’S RESPONSE IN OPPOSITION TO FEDERAL
DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS COMPLAINT
with the Clerk of Court using the CM/ECF system, which will then send a
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                                       Page 24 of 26
       Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 25 of 26



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                                  Page 25 of 26
Case 1:10-cv-00210-PLF Document 89 Filed 03/21/11 Page 26 of 26
